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                                UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 10    MICHAEL DUNN,                                 Case No. 2:21-cv-2103-CJC (MAR)
 11                                  Petitioner,
 12                            v.                    ORDER ACCEPTING FINDINGS
                                                     AND RECOMMENDATION OF
 13    MONTGOMERY,                                   UNITED STATES MAGISTRATE
                                                     JUDGE
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                                    Respondent(s).
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            Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for a Writ of
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      Habeas Corpus, the records on file, and the Final Report and Recommendation of the
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      United States Magistrate Judge. The Court has engaged in de novo review of those
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      portions of the Report to which Petitioner has objected. The Court accepts the
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      findings and recommendation of the Magistrate Judge.
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            IT IS THEREFORE ORDERED that Judgment be entered dismissing this
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      action with prejudice.
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 25
      Dated: October 20, 2021
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 27                                        HONORABLE CORMAC J. CARNEY
                                           United States District Judge
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